  Case 1:17-cv-03392-VEC-SDA Document 79 Filed 07/13/18 Page 1 of 2




Andrew M. Moskowitz, Esq.
JAVERBAUM WURGAFT HICKS KAHN WIKSTROM & SININS
505 Morris Ave.
Springfield, NJ 07081
(973) 379-4200

589 Eighth Avenue-21st Floor
New York, NY 10018
(212) 596-7656

Withdrawing Attorneys for Plaintiff


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 DAVID A. JOFFE,

                                                         Case No. 17-cv-3392 (VEC)
         Plaintiff,


 vs.


 KING & SPALDING LLP,



         Defendant.

             NOTICE OF MOTION TO WITHDRAW AS COUNSEL
             AND TO AFFIX RETAINING LIENS AND CHARGING
                      LIENS AGAINST PLAINTIFF

       PLEASE TAKE NOTICE THAT, upon the accompanying Declaration of Andrew

Moskowitz with Exhibits and the accompanying Memorandum of Law, Javerbaum

Wurgaft Hicks Kahn Wikstrom & Sinins, P.C. respectfully moves this Court pursuant to

Local Civil Rule 1.4 before the Honorable Valerie Caproni, United States District Judge,

at the Thurgood Marshall United States Courthouse, 40 Foley Square, New York, New

York, 10007, on a date and time to be designated by the Court for an Order granting (i)


                                           1
   Case 1:17-cv-03392-VEC-SDA Document 79 Filed 07/13/18 Page 2 of 2




leave to withdraw as counsel for Plaintiff David Joffe (“Plaintiff”) and (ii) a retaining lien

and a charging lien against any proceeds recovered by Plaintiff in this matter; and (iii)

such other relief as the Court deems proper.


Dated: July 13, 2018


                                               Respectfully submitted,



                                               By:    /s/ Andrew Moskowitz
                                                      Andrew Moskowitz

                                                      JAVERBAUM WURGAFT HICKS
                                                      KAHN WIKSTROM & SININS
                                                      505 Morris Ave.
                                                      Springfield, NJ 07081
                                                      (973) 379-4200

                                                      589 Eighth Avenue-21st Floor
                                                      New York, NY 10018
                                                      (212) 596-7656

                                                      Withdrawing Attorneys for Plaintiff




                                               2
